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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



Ion J. Skillrud,                                          Civ. No. 20-2318 (MJD/BRT)

                      Plaintiff,

v.

Home Depot U.S.A., Inc., and The Home                ORDER FOR SETTLEMENT
Depot, Inc.,                                             CONFERENCE

                      Defendants.


       A settlement conference will be held on May 17, 2021, beginning at 9:30 a.m.

before the undersigned United States Magistrate Judge. The Court will determine at a

later date if the settlement conference will be held in person or via Zoom

Videoconferencing. Unless otherwise ordered, all participants should plan on spending

the entire day and evening, if necessary, at the settlement conference. If counsel or

participants have time limitations, they must notify the Court and the other side within 7

days of this Order.

       This Order covers three key topics: (1) required attendees; (2) required pre-

settlement conference meetings between counsel; and (3) deadlines and requirements for

settlement letters. Please read this Order carefully, because the Court expects counsel and

their clients to comply and be fully prepared for the settlement conference.

       (1)    Required Attendees. Counsel who will actually try the case and each

              party, armed with full settlement authority, shall be present. This means

              that each party must attend through a person who has the power to change
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      that party’s settlement posture during the course of the conference. If the

      party representative has a limit, or “cap” on his or her authority, this

      requirement is not satisfied. If individuals are parties to this case, they must

      be present. If a corporation or other collective entity is a party, a duly

      authorized officer or managing agent of that party shall be present. If an

      insurance company is involved on behalf of any party, a representative of

      the insurer with the power to pay the policy limits must also attend the

      settlement conference.

(2)   Pre-Conference Settlement Discussion(s). To encourage the parties to

      address the issue of settlement on their own, counsel must meet on or

      before May 7, 2021, to engage in a full and frank discussion of settlement.

      Counsel must prepare for this pre-conference discussion with their

      respective clients. If an in-person meeting is not practical under the

      circumstances, they may meet by video conference or telephone; however,

      a meaningful settlement discussion is still required. Plaintiff is expected to

      make a demand and Defendant is expected to present a counter prior to the

      settlement conference. If a party does not make an opening demand or

      counter offer, that party must explain why in the settlement letter. Email

      and letter exchanges do not meet this requirement.

(3)   Confidential Settlement Letters. If the case does not settle, each attorney

      shall submit to the undersigned on or before May 13, 2021, a confidential

      letter setting forth (a) the parties’ respective settlement positions before the

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              meeting; (b) the parties’ respective positions following the meeting; (c) a

              concise analysis of each remaining liability issue, with citation to the

              primary relevant authority; (d) a reasoned, itemized computation of each

              element of the alleged damages, with a concise description or summary of

              the testimony of each witness who will testify in support of the damage

              computations; (e) a reasoned analysis of the strengths and weaknesses of

              their client’s case; and (f) a reasoned analysis justifying their client’s last

              stated settlement position, as well as any additional information believed to

              be helpful to the process of reaching agreement. If you have case law to

              support your settlement position, please provide copies of the cases and

              explain why they are relevant in your letter. Please provide only the cases

              you believe are necessary for Judge Thorson to review prior to the

              settlement conference. If any other documents are submitted with the letter,

              the specific information supporting the party’s position must be highlighted

              in yellow. No more than 25 pages of attachments are permitted without

              prior Court approval. The confidential statement letter is for the Court’s use

              only and should not be served on opposing counsel. Counsel must email

              their confidential settlement letter to thorson_chambers@mnd.uscourts.gov.

       The parties must inform the Court in the confidential letter to be submitted to the

Court before the settlement conference the name and position of the person(s) who will

attend the settlement conference with full authority to settle the case.



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      Any deviation from these requirements must be approved by the Court more than

seven days prior to the settlement conference.

      Failure of any lawyer to submit this letter may result in the settlement conference

being rescheduled and the imposition of an appropriate sanction on the attorney whose

failure caused the conference to be postponed.

      Failure of any party or insurance company to comply with any part of this Order

may result in the postponement of the settlement conference and/or imposition of an

appropriate sanction on the party, company, or attorney who failed to comply.



Date: December 17, 2020
                                  s/ Becky R. Thorson
                                  BECKY R. THORSON
                                  United States Magistrate Judge




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